          Case 04-10543                Doc 6         Filed 04/16/04             Entered 04/16/04 09:10:57                     Desc Main
                                                        Document                Page 1 of 5
B104                                                                                      ADVERSARY PROCEEDING NUMBER
(3/87)                                                                                    (Court Use Only)
       ADVERSARY PROCEEDING COVER SHEET
               (Instructions on Reverse)
PLAINTIFFS                                                                          DEFENDANTS

Bank One Delaware, NA f.k.a. First USA                                              David N. Portnoy

ATTORNEYS                                                                           ATTORNEYS
Warren E. Agin, Esq.                                                                Nina M. Parker
Swiggart & Agin, LLC                                                                Parker & Associates
Two Center Plaza, Suite 510                                                         10 Converse Place
Boston, MA 02108                                                                    Winchester, MA 01890
(617) 742-0110 x233

PARTY(Check One Only) ____ U.S. PLAINTIFF ____ U.S. DEFENDANT __X__ U.S. NOT A PARTY

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S STATUTES INVOLVED)

                                         COMPLAINT OBJECTING TO DISCHARGEABILITY OF INDEBTEDNESS
                                                           11 U.S.C. SECTION 523

                                                                      NATURE OF SUIT
                                                                 (Check the most appropriate only)

____454 To recover money of property                         ____435 To revoke an order or confirmation     ____456 To obtain a declaratory judgment relating to
____435 To determine validity, priority, or extent of a              of Chap. 11 or Chap. 13 Plan.                  any of the foregoing causes.
        lien or other interest in property.                  _X__426 To determine the dischargeability of   ____459 To determine a claim or cause of action
____458 To obtain approval for the sale of both the                  a debt 11 U.S.C. Section 523.                  removed to a bankruptcy court.
        interest of the estate and of co ownership in        ____434 To obtain an injunction or other       ____498 Other(specify)
        property.                                                    equitable relief.
____424 To object to or revoke a discharge or interest       ____457 To subordinate any allowed claim or
        11 U.S.C. Section 727.                                       interest

ORIGIN OF PROCEEDINGS (Check one only)                                                                                 ____ CHECK HERE IF THIS IS A
                                                                                                                            CLASS ACTION UNDER
__X__ Original        _____ Removed         _____ Transferred to another       _____ Reinstated or                          F.R.C.P. 23
      Proceeding            Proceeding            Bankruptcy Court                  Reopened

DEMAND                                          NEAREST THOUSAND                    OTHER RELIEF SOUGHT                          ____ Jury Demanded
$9,100.00                                       $9                                  Attorney fees & costs


                                      BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                       BANKRUPTCY CASE NUMBER

David N. Portnoy                                                                    04-10543-JNF


DISTRICT IN WHICH CASE IS PENDING                            DIVISIONAL OFFICE                              NAME OF JUDGE
MASSACHUSETTS                                                BOSTON                                         Joan N. Feeney


                                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                                 DEFENDANT                        ADVERSARY PROCEEDING NUMBER

DISTRICT                                                     DIVISIONAL OFFICE                              NAME OF JUDGE

FILING FEE
(Check one only)       __X__ FEE ATTACHED                 _____ FEE NOT REQUIRED          _____ FEE IS DEFERRED

DATE                                                      PRINT NAME OF ATTORNEY                            SIGNATURE OF ATTORNEY
March 4, 2004                                             Warren E. Agin, BBO # 554242                      /s/Warren E. Agin
Case 04-10543         Doc 6   Filed 04/16/04   Entered 04/16/04 09:10:57     Desc Main
                                 Document      Page 2 of 5



                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS

In re:
                                                        Case No 04-10543-JNF
David N. Portnoy,
                                                        Chapter 7
         Debtor.

                                                        Adv. Pro. No. _______________
Bank One Delaware, NA f.k.a. First USA,
                                                        COMPLAINT OBJECTING
         Plaintiff,                                     TO DISCHARGEABILITY OF
                                                        INDEBTEDNESS
v.                                                      (11 U.S.C. §523)
David N. Portnoy,
         Defendant.



         Plaintiff, Bank One Delaware, NA f.k.a. First USA, through its attorney of

record, Warren E. Agin, states as follows:

                          I. PARTIES AND JURISDICTION

1.       Plaintiff is a foreign corporation licensed to do business in the

         Commonwealth of Massachusetts with all fees and licenses paid, and

         otherwise is entitled to bring this action.

2.       Defendant filed a Chapter 7 bankruptcy petition on 01/23/2004.

3.       Jurisdiction is vested in this proceeding pursuant to 28 U.S.C. § 157, 28

         U.S.C. § 1334, and 11 U.S.C. §523; this matter is a core proceeding.

4.       Plaintiff is a creditor in this bankruptcy proceeding.

                                  II. CAUSE OF ACTION

5.       Plaintiff re-alleges and incorporates by reference the allegations set forth

         in averments 1 through 4, above.
Case 04-10543   Doc 6    Filed 04/16/04   Entered 04/16/04 09:10:57    Desc Main
                            Document      Page 3 of 5
                                                                 Page 2 of 3 – Complaint
                                                                               xxxx-2538


6.    Defendant had a charge account with Bank One Delaware, NA f.k.a. First

      USA, Account No. xxxx-2538.

7.    Defendant incurred charges and cash advances on this account totaling

      $30,994.80, including interest, as of the date the bankruptcy petition was

      filed. This account was opened September 7, 2001.

8.    On or about September 3, 2003, Defendant incurred a $9,100.00 in cash

      advance and/or convenience check charges.

9.    As a result of the above activity, the account credit limit was exceeded.

10.   Defendant's debt is a “consumer debt”, as defined by 11 U.S.C.§ 101(8).

11.   By obtaining and/or accepting extensions of credit from Plaintiff and

      incurring charges on this account, Defendant represented an intention to

      repay the amounts charged.

12.   Plaintiff justifiably relied on the representations made by Defendant.

13.   Defendant incurred the debts when Defendant had no objective or

      subjective intent to repay them, or with reckless disregard of their ability

      to repay them.

14.   Defendant obtained credit extended from the Plaintiff by false pretenses,

      false representations and/or actual fraud.

15.   As a result of Defendant's conduct, Plaintiff has suffered damages in the

      amount of $9,100.00.

16.   The Cardholder Agreement in effect between the parties requires the

      Defendant to pay costs of collection, as well as reasonable attorney fees.
Case 04-10543      Doc 6   Filed 04/16/04    Entered 04/16/04 09:10:57   Desc Main
                              Document       Page 4 of 5
                                                                   Page 3 of 3 – Complaint
                                                                                 xxxx-2538


17.   Pursuant to 11 USC § 523(a)(2), Defendant should not be granted a

      discharge of this debt to the Plaintiff in the amount of $9,100.00.

                             III. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that this Court grant the following relief:

1.    A monetary judgment against Defendant in the amount of $9,100.00, plus

      accrued interest at the contractual rate from and after 01/23/2004, plus

      additional interest at the contractual rate, which will continue to accrue

      until the date of judgment herein;

2.    An order determining that such debt is non-dischargeable under 11 USC §

      523(a)(2);

3.    An order awarding Plaintiff attorneys' fees and costs incurred herein; and

4.    An order awarding Plaintiff such additional relief as this Court deems just

      and equitable.

      DATED April 16, 2004.

                                            Bank One Delaware, NA f.k.a. First USA,

                                            By its Attorney,

                                            Swiggart & Agin, LLC

                                            /s/Warren E. Agin
                                            Warren E. Agin, BBO # 554242
                                            Two Center Plaza, Suite 510
                                            Boston, MA 02108
                                            (617) 742-0110 x233
                                            fax: (617) 723-2830
                                            wea@swiggartagin.com
 Case 04-10543        Doc 6    Filed 04/16/04     Entered 04/16/04 09:10:57         Desc Main
                                  Document        Page 5 of 5




                           DECLARATION OF WARREN E. AGIN


       I, WARREN E. AGIN, declare and state as follows:

        1.      I am an attorney licensed to practice in Commonwealth of Massachusetts.
Swiggart & Agin, LLC is counsel for Bank One Delaware, NA f.k.a. First USA and I am
familiar with the matters herein stated by virtue of my review of and familiarity with Plaintiff’s
records generally, and those pertaining particularly to this matter.

       2.     This Statement of Corporate Ownership is provided pursuant to the requirements
of Federal Rules of Bankruptcy Procedures Section 7007 and no entity directly or indirectly
owns Ten Percent (10%) or more of a class of the corporation’s equity interest.

       3.     Any further changes that would require notification to the court will promptly be
provided by an Amended Statement of Corporate Ownership.

DATED April 16, 2004.

                                              /s/Warren E. Agin
                                              Warren E. Agin, BBO # 554242
                                              Two Center Plaza, Suite 510
                                              Boston, MA 02108
                                              (617) 742-0110 x233
                                              fax: (617) 723-2830
                                              wea@swiggartagin.com
